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                BEFORE THE UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
                        MDL NO.___________                 IN RE: INSULIN PRICING LITIGATION


                                                 SCHEDULE OF ACTIONS

                          Case Caption                                Court          Civil Action          Judge
                                                                                         No.

Plaintiffs:                                                      E.D. Arkansas,     4:22-cv-549-JM   James M. Moody Jr.
The State of Arkansas, ex. rel.                                  Central Division
Tim Griffin, Attorney General

Defendants:
Eli Lilly and Company
Novo Nordisk Inc.
Sanofi-Aventis U.S. LLC
Evernorth Health, Inc. (Formerly Express Scripts Holding
Company)
Express Scripts, Inc.
Express Scripts Administrators, LLC
ESI Mail Pharmacy Service, Inc.
Express Scripts Pharmacy, Inc.
Medco Health Solutions, Inc.
CVS Health Corporation
CVS Pharmacy, Inc.
Caremark RX, LLC
CaremarkPCS Health, LLC
Caremark, LLC
OptumRX Inc.
OptumInsight, Inc.



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Plaintiffs:                                                     N.D. Illinois,    1:23-cv-170    Stephen C. Seeger
The State of Illinois, ex. rel.                                Eastern Division
Kwame Raoul, Attorney General

Defendants:
Eli Lilly and Company
Novo Nordisk Inc.
Sanofi-Aventis U.S. LLC
Evernorth Health, Inc. (Formerly Express Scripts Holding
Company)
Express Scripts, Inc.
Express Scripts Administrators, LLC
ESI Mail Pharmacy Service, Inc.
Express Scripts Pharmacy, Inc.
Medco Health Solutions, Inc.
CVS Health Corporation
CVS Pharmacy, Inc.
Caremark RX, LLC
CaremarkPCS Health, LLC
Caremark, LLC
UnitedHealth Group, Inc.
OptumRx Inc.
OptumInsight, Inc.


Plaintiffs:                                                      D. Kansas,       5:23-cv-4002    Eric F. Melgren
The State of Kansas, ex. rel.                                  Topeka Division
Derek Schmidt, Attorney General

Defendants:
Eli Lilly and Company
Novo Nordisk Inc.

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Sanofi-Aventis U.S. LLC
Evernorth Health, Inc. (Formerly Express Scripts Holding
Company)
Express Scripts, Inc.
Express Scripts Administrators, LLC
ESI Mail Pharmacy Service, Inc.
Express Scripts Pharmacy, Inc.
Medco Health Solutions, Inc.
CVS Health Corporation
CVS Pharmacy, Inc.
Caremark RX, LLC
CaremarkPCS Health, LLC
Caremark, LLC
OptumRX Inc.


Plaintiffs:                                                    S.D. Mississippi,   3:21-cv-00674   Kristi H. Johnson
The State of Mississippi, ex. rel.                                Northern
Lynn Fitch, Attorney General                                       Division

Defendants:
Eli Lilly and Company
Novo Nordisk Inc.
Sanofi-Aventis U.S. LLC
Evernorth Health, Inc. (Formerly Express Scripts Holding
Company)
Express Scripts, Inc.
Express Scripts Administrators, LLC
ESI Mail Pharmacy Service, Inc.
Express Scripts Pharmacy, Inc
Medco Health Solutions, Inc.
CVS Health Corporation
Caremark RX, LLC

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Caremark PCS Health LLC
Caremark, LLC
OptumRX Inc.


Plaintiffs:                                                     D. Montana,      6:22-cv-00087   Brian Morris
State of Montana, ex. rel.                                     Helena Division
Austin Knudsen, Attorney General

Defendants:
Eli Lilly and Company
Novo Nordisk Inc.
Sanofi-Aventis U.S. LLC
Evernorth Health, Inc. (Formerly Express Scripts Holding
Company)
Express Scripts, Inc.
Express Scripts Administrators, LLC
ESI Mail Pharmacy Service, Inc.
Express Scripts Pharmacy, Inc.
CVS Health Corporation
CVS Pharmacy, Inc.
Caremark RX, LLC
CaremarkPCS Health, LLC
Caremark, LLC
UnitedHealth Group, Inc.
OptumRx Inc.
OptumInsight, Inc.




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